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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 WARD BREHM,

                Plaintiff,

        v.                                                  Civil Action No. 25-0660 (RJL)

 PETE MAROCCO, et al.,

                Defendants.



                              DEFENDANT’S STATUS REPORT
       Pursuant to the Court’s March 11, 2025 minute order, the parties have conferred but were

unable to reach a mutually agreed upon briefing schedule. Defendant respectfully proposes that

the Court enter the following briefing schedule:

       Plaintiff’s Motion for Preliminary Injunction and Summary Judgment: March 21, 2025

       Defendant’s Opposition and Cross Motion for Summary Judgment: March 31, 2025

       Plaintiff’s Reply: April 4, 2025

       Defendant’s Reply: April 9, 2025

       Hearing: April 11, 2025



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Dated: March 12, 2025               Respectfully submitted,

                                    EDWARD R. MARTIN, JR., D.C. Bar #481866
                                    United States Attorney


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